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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 MARQUIS CRACRAFT,                )
                                  )
      Plaintiff,                  )
                                  )
 v.                               )Case No. 1:22-cv-02398-JPH-KMB.
                                  )
 IVY TECH COMMUNITY COLLEGE       )
 OF INDIANA, OFFICER WHEATLEY,    )
 INDIANAPOLIS METROPOLITAN POLICE )
 DEPARTMENT, & OFFICER SHAEFFER   )
                                  )
      Defendant.                  )


                              CASE MANAGEMENT PLAN

 I.    Parties and Representatives

       A.    Marquis Cracraft, Plaintiff

             Ivy Tech Community College of Indiana (“Ivy Tech”); Officer David Weekly
             (incorrectly identified in Plaintiff’s Complaint as “Officer Wheatley”), in his
             individual and official capacities (“Officer Weekly”) (together, “Ivy Tech
             Defendants”); the Indianapolis Metropolitan Police Department (“IMPD”); and
             IMPD Officer Shaffer (incorrectly identified in Plaintiff’s complaint as “Officer
             Shaeffer”), in his individual and official capacities (“Officer Shaffer”) (together,
             “IMPD Defendants”), Defendants

       B.    Counsel for Plaintiff
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        Counsel shall promptly file a notice with the Clerk if there is any change in this
        information.

  II.   Jurisdiction and Statement of Claims

           A. The Court has jurisdiction pursuant to Court by 28 U.S.C. § 1331 arising from
              Plaintiff’s Fourth Amendment claim brought pursuant to 42 U.S.C. § 1983, and
              pendant jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

           B. Plaintiff’s Claims: Plaintiff, African American, was a student at Ivy Tech. On or
              about July 28, 2022, Plaintiff left Ivy Tech’s Library and was detained by the
              Defendants due to carrying a laptop. Said actions violate Federal and State law.

           C. Defendants’ Positions

               Ivy Tech Defendants: Ivy Tech Defendants have sovereign immunity protection
               pursuant to the Eleventh Amendment for all Plaintiff’s claims against Ivy Tech and
               Plaintiff’s official capacity claims against Officer Weekly, with the exception of
               any seeking prospective injunctive relief, and are entitled to dismissal without
               prejudice pursuant to Fed. R. Civ. P. 12(b)(1) and/or 12(b)(6). Further, Plaintiff has
               failed to properly serve Officer Weekly and, thus, the Court has not acquired
               personal jurisdiction over him—as such all claims against him should be dismissed
               without prejudice pursuant to Fed. R. Civ. P. 12(b)(2) and/or 12(b)(5). Moreover,
                                                 2
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                         Plaintiff has failed to state a claim as to his Fourth Amendment which should be
                         dismissed with prejudice pursuant to Fed. R. Civ. P. 12(b)(6). The Court, likewise,
                         should decline to exercise supplemental jurisdiction over Plaintiff’s state law
                         claims.

                         IMPD Defendants: The IMPD Defendants are protected from liability by the
                         doctrines of qualified immunity and law enforcement immunity, and are entitled to
                         dismissal without prejudice pursuant to Fed. R. Civ. Pro. 12(b)(1) and/or 12(b)(6).
                         Plaintiff has failed to state a claim as to his Fourth Amendment which should be
                         dismissed with prejudice pursuant to Fed. R. Civ. Pro. 12(b)(6). This Court should
                         decline to exercise supplemental jurisdiction over Plaintiff’s state law claims,
                         which are likewise barred by the Indiana Tort Claims Act.

            III.   Pretrial Pleadings and Disclosures

Sec. III E. The    A.    The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
  Parties shall          April 14, 2023.
  submit (not
 file) courtesy    B.    Plaintiff shall file preliminary witness and exhibit lists on or before April 21, 2023.
copies of their
    respective     C.    Defendant shall file preliminary witness and exhibit lists on or before April 28,
  demand and             2023.
  response at
                   D.    All motions for leave to amend the pleadings and/or to join additional parties shall
   the time of
                         be filed on or before May 15, 2023.
   service via
     email to      E.    Plaintiff shall serve Defendant (but not file with the Court) a statement of special
JudgeBarrCha             damages, if any, and make a settlement proposal, on or before May 15, 2023.
mbers@insd.u             Defendant shall serve on the Plaintiff (but not file with the Court) a response thereto
  scourts.gov.           within 30 days after receipt of the proposal.
  There is no
need to follow     F.    Except where governed by paragraph (G) below, expert witness disclosure
the email with           deadlines shall conform to the following schedule: Plaintiff shall disclose the name,
  a hard copy.           address, and vita of any expert witness, and shall serve the report required by Fed.
                         R. Civ. P. 26(a)(2) on or before December 14, 2023. Defendant shall disclose the
                         name, address, and vita of any expert witness, and shall serve the report required
                         by Fed. R. Civ. P. 26(a)(2) on or before January 15, 2024.

                   G.    Notwithstanding the provisions of paragraph (F), above, if a party intends to use
                         expert testimony in connection with a motion for summary judgment to be filed by
                         that party, such expert disclosures must be served on opposing counsel no later than
                         90 days prior to the dispositive motion deadline. If such expert disclosures are
                         served the parties shall confer within 7 days to stipulate to a date for responsive
                                                           3
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             disclosures (if any) and completion of expert discovery necessary for efficient
             resolution of the anticipated motion for summary judgment. The parties shall make
             good faith efforts to avoid requesting enlargements of the dispositive motions
             deadline and related briefing deadlines. Any proposed modifications of the CMP
             deadlines or briefing schedule must be approved by the Court.

       H.    Any party who wishes to limit or preclude expert testimony at trial shall file any
             such objections on or before June 14, 2024. Any party who wishes to preclude
             expert witness testimony at the summary judgment stage shall file any such
             objections with their responsive brief within the briefing schedule established by
             S.D. Ind. L.R. 56-1.

       I.    All parties shall file and serve their final witness and exhibit lists on or before
             March 14, 2024. This list should reflect the specific potential witnesses the party
             may call at trial. It is not sufficient for a party to simply incorporate by reference
             “any witness listed in discovery” or such general statements. The list of final
             witnesses shall include a brief synopsis of the expected testimony.

       J.    Any party who believes that bifurcation of discovery and/or trial is appropriate with
             respect to any issue or claim shall notify the Court as soon as practicable.

       K.    Discovery of electronically stored information (“ESI”). If either party is seeking
             the production of a substantial volume of ESI, then complete the ESI Supplement
             to the Report of the Parties’ Planning Meeting (also available in MS Word on the
             court’s website at http://www.insd.uscourts.gov/case-management-plans).

             The parties have discussed preservation and disclosure of electronically stored
             discovery information. The parties agree that each shall make reasonable, good
             faith efforts to preserve, until this matter has been finally resolved, any
             electronically stored information that is reasonably relevant to the allegations of
             the Complaint. Plaintiff and Defendant will, if requested pursuant to Fed. R. Civ.
             P. 34, identify and provide to the other party paper copies or electronic PDF
             copies of any electronically stored information that is reasonably relevant to the
             allegations of the Complaint or to Defendant’s defenses and which is not attorney
             work product and is not protected by attorney-client privilege or any other
             privilege. Each party shall bear its own costs associated with such production. The
             parties do not currently anticipate any need for discovery of embedded data or
             metadata.

             In the event that a document protected by the attorney-client privilege, the
             attorney work product doctrine or other applicable privilege or protection is
             unintentionally produced by any party to this proceeding, the producing party may
             request that the document be returned. In the event that such a request is made, all
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                 parties to the litigation and their counsel shall promptly return all copies of the
                 document in their possession, custody, or control to the producing party and shall
                 not retain or make any copies of the document or any documents derived from
                 such document. The producing party shall promptly identify the returned
                 document on a privilege log. The unintentional disclosure of a privileged or
                 otherwise protected document shall not constitute a waiver of the privilege or
                 protection with respect to that document or any other documents involving the
                 same or similar subject matter.

 IV.     Discovery 1 and Dispositive Motions

         Due to the time and expense involved in conducting expert witness depositions and other
         discovery, as well as preparing and resolving dispositive motions, the Court requires
         counsel to use the CMP as an opportunity to seriously explore whether this case is
         appropriate for such motions (specifically including motions for summary judgment),
         whether expert witnesses will be needed, and how long discovery should continue. To this
         end, counsel must select the track set forth below that they believe best suits this case. If
         the parties are unable to agree on a track, the parties must: (1) state this fact in the CMP
         where indicated below; (2) indicate which track each counsel believes is most appropriate;
         and (3) provide a brief statement supporting the reasons for the track each counsel believes
         is most appropriate. If the parties are unable to agree on a track, the Court will pick the
         track it finds most appropriate, based upon the contents of the CMP or, if necessary, after
         receiving additional input at an initial pretrial conference.

         A.      Does any party believe that this case may be appropriate for summary judgment or
                 other dispositive motion? If yes, the party(ies) that expect to file such a motion
                 must provide a brief statement of the factual and/or legal basis for such a motion.

                 Defendant: If Ivy Tech Defendants’ motion to dismiss is denied in whole or in part,
                 Ivy Tech Defendants intend to file a dispositive motion, based on certain
                 affirmative defenses (Count I) and Plaintiff’s inability to meet the elements of his
                 state law claims (Counts II-VI).




 1
     The term “completed,” as used in Section IV.C, means that counsel must serve their discovery
     requests in sufficient time to receive responses before this deadline. Counsel may not serve
     discovery requests within the 30-day period before this deadline unless they seek leave of Court
     to serve a belated request and show good cause for the same. In such event, the proposed belated
     discovery request shall be filed with the motion, and the opposing party will receive it with
     service of the motion but need not respond to the same until such time as the Court grants the
     motion.
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                Likewise, if the IMPD Defendants’ motion to dismiss is denied wholly or partially,
                the IMPD Defendants anticipate filing a dispositive motion based on affirmative
                defenses and Plaintiff’s failure to establish necessary elements of his claims.

                Plaintiff: Plaintiff respectfully disagrees.

        B.      On or before October 23, 2023, and consistent with the certification provisions of
                Fed. R. Civ. P. 11(b), the party with the burden of proof shall file a statement of the
                claims or defenses it intends to prove at trial, stating specifically the legal theories
                upon which the claims or defenses are based.

        C.      Select the track that best suits this case:

                Track 2: Dispositive motions are expected and shall be filed by February 15, 2024;
                non-expert witness discovery and discovery relating to liability issues shall be
                completed by October 16, 2023; expert witness discovery and discovery relating
                to damages shall be completed by March 14, 2024. All remaining discovery shall
                be completed by no later than April 15, 2024.

                Absent leave of Court, and for good cause shown, all issues raised on summary
                judgment under Fed. R. Civ. P. 56 must be raised by a party in a single motion.

 V.     Pre-Trial/Settlement Conferences

        The parties are encouraged to request an earlier date if they believe the assistance of the
        Magistrate Judge would be helpful in achieving settlement. The parties recommend a
        settlement conference in August/September 2023.

 VI.    Trial Date

        The parties request a trial date in October 2024. Trial is anticipated to take three (3) days.

 VII.   Referral to Magistrate Judge

             A. Case. At this time, all parties do not consent to refer this matter to the currently
                assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73 for
                all further proceedings including trial.

             B. Motions. The parties may also consent to having the assigned Magistrate Judge
                rule on motions ordinarily handled by the District Judge, such as motions to
                dismiss, for summary judgment, or for remand. If all parties consent, they should
                file a joint stipulation to that effect. Partial consents are subject to the approval of
                the presiding district judge.
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 VIII. Required Pre-Trial Preparation

       A.    TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
             parties shall:

             1.     File a list of trial witnesses, by name, who are actually expected to be called
                    to testify at trial. This list may not include any witnesses not on a party’s
                    final witness list filed pursuant to Section III.I.

             2.     Number in sequential order all exhibits, including graphs, charts and the
                    like, that will be used during the trial. Provide the Court with a list of these
                    exhibits, including a description of each exhibit and the identifying
                    designation. Make the original exhibits available for inspection by
                    opposing counsel. Stipulations as to the authenticity and admissibility of
                    exhibits are encouraged to the greatest extent possible.

             3.     Submit all stipulations of facts in writing to the Court. Stipulations are
                    always encouraged so that at trial, counsel can concentrate on relevant
                    contested facts.

             4.     A party who intends to offer any depositions into evidence during the party's
                    case in chief shall prepare and file with the Court and copy to all opposing
                    parties either:

                    a.     brief written summaries of the relevant facts in the depositions that
                           will be offered. (Because such a summary will be used in lieu of the
                           actual deposition testimony to eliminate time reading depositions in
                           a question and answer format, this is strongly encouraged.); or

                    b.     if a summary is inappropriate, a document which lists the portions
                           of the deposition(s), including the specific page and line numbers,
                           that will be read, or, in the event of a video-taped deposition, the
                           portions of the deposition that will be played, designated specifically
                           by counter-numbers.

             5.     Provide all other parties and the Court with any trial briefs and motions in
                    limine, along with all proposed jury instructions, voir dire questions, and
                    areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
                    findings of fact and conclusions of law).

             6.     Notify the Court and opposing counsel of the anticipated use of any
                    evidence presentation equipment.
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        B.      ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the parties
                shall:

                1.         Notify opposing counsel in writing of any objections to the proposed
                           exhibits. If the parties desire a ruling on the objection prior to trial, a motion
                           should be filed noting the objection and a description and designation of the
                           exhibit, the basis of the objection, and the legal authorities supporting the
                           objection.

                2.         If a party has an objection to the deposition summary or to a designated
                           portion of a deposition that will be offered at trial, or if a party intends to
                           offer additional portions at trial in response to the opponent's designation,
                           and the parties desire a ruling on the objection prior to trial, the party shall
                           submit the objections and counter summaries or designations to the Court
                           in writing. Any objections shall be made in the same manner as for
                           proposed exhibits. However, in the case of objections to video-taped
                           depositions, the objections shall be brought to the Court's immediate
                           attention to allow adequate time for editing of the deposition prior to trial.

                3.         File objections to any motions in limine, proposed instructions, and voir dire
                           questions submitted by the opposing parties.

                4.         Notify the Court and opposing counsel of requests for separation of
                           witnesses at trial.

 IX.    Other Matters



  BIESECKER DUTKANYCH & MACER, LLC                    ICE MILLER LLP

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                                       (incorrectly identified in Plaintiff’s Complaint as
                                       “Officer Wheatley”)

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                                       Attorney for Defendants Indianapolis
                                       Metropolitan Police Department, and Officer
                                       Corey Shaffer (incorrectly identified in
                                       Plaintiff’s Complaint as “Officer Schaeffer”)




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     x               PARTIES APPEARED BY COUNSEL ON February 14, 2023,
                     FOR AN INITIAL PRETRIAL CONFERENCE.
                     APPROVED AS SUBMITTED.
     x
                     APPROVED AS AMENDED.

                     APPROVED AS AMENDED PER SEPARATE ORDER.

                     APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
                     SHORTENED/LENGTHENED BY               MONTHS.

                     APPROVED, BUT THE DEADLINES SET IN SECTION(S)
                          ______________ OF THE PLAN IS/ARE
                     SHORTENED/LENGTHENED BY                 MONTHS.

                     THIS MATTER IS SET FOR TRIAL BY ____________________ ON
                     ___________________________ . FINAL PRETRIAL
                     CONFERENCE IS SCHEDULED FOR
                                                            AT __________ .M.,
                     ROOM                  .

                     A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE
                     FOR _____________ AT _______ .M. COUNSEL SHALL
                     APPEAR:
                     _____________ IN PERSON IN ROOM ________ ; OR

                     _____________ BY TELEPHONE, WITH COUNSEL FOR
                     INITIATING THE CALL TO ALL OTHER PARTIES AND ADDING
                     THE COURT JUDGE AT ( ____ ) _________________ ; OR

                     _____________BY TELEPHONE, WITH COUNSEL CALLING THE
                     JUDGE'S STAFF AT ( ____ ) _____________________ .
     x               DISPOSITIVE MOTIONS SHALL BE FILED BY February 15,
                     2024.
         x
                     NON-EXPERT WITNESS AND LIABILITY DISCOVERY SHALL
                     BE COMPLETED BY October 16, 2023.
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           Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
  Order of the Court may result in sanctions for contempt, or as provided under Fed. R. Civ. P. 16-
  1(f), to and including dismissal or default.

         APPROVED AND SO ORDERED.
              Date: 2/17/2023
